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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                                10/20/2020

 HAROLD FORD,


                                                Plaintiff,                    ORDER SCHEDULING
                                                                              SETTLEMENT CONFERENCE
                             -against-
                                                                              19-CV-11705 (LGS)
  WSP USA, INC.,

                                                 Defendant.
-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         A telephonic settlement conference in this matter is scheduled for Friday, December 11,

2020 at 10:00 a.m. Counsel for the parties are directed to call Judge Parker’s court conference

line at the scheduled time. Please dial (866) 434-5269, Access code: 4858267. Corporate

parties must send the person with decision making authority to settle the matter to the

conference. The parties are instructed to complete the Settlement Conference Summary

Report and prepare pre-conference submissions in accordance with the Judge Parker’s

Individual Rules of Practice. Pre-conference submissions must be received by the Court no later

than December 4, 2020 by 5:00 p.m.

         SO ORDERED.

Dated: October 20, 2020
       New York, New York

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
